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Plaintiff

VS.
CR. NO. 04-20419-D

N||LTON COLL|NS

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
report date of 'l'hursdag(l OctobL27. 2005. 319:00 g:_n_\_=, in Courtroom 3. 9th F|oor of
the Federal Building, Memphis, TN.

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

|T IS SO ORDERED this 254 day of September, 2005.

 

N|TED ST)'°\TES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-204]9 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

